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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------X
PAUL DENVER,

                                   Plaintiff,                            22 CIVIL 5103 (JMF)(GWG)

                 -v-                                                          JUDGMENT

KILOLO KIJAKAZI, ACTING
COMMISSIONER OF SOCIAL SECURITY,

                                    Defendant.
-----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Stipulation and Order dated February 16, 2023, that the decision of the

Commissioner of Social Security be, and hereby is, reversed and that this action be, and hereby

is, remanded, pursuant to sentence four of 42 U.S.C. § 405(g), for further administrative

proceedings, including a new hearing; accordingly, the case is closed.

Dated: New York, New York
       February 16, 2023


                                                                         RUBY J. KRAJICK

                                                                     _________________________
                                                                            Clerk of Court

                                                               BY:
                                                                     _________________________
                                                                            Deputy Clerk
